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 1   SONAL N. MEHTA (SBN 222086)               KRISTA L. BAUGHMAN (SBN 264600)
       Sonal.Mehta@wilmerhale.com              kbaughman@dhillonlaw.com
 2   WILMER CUTLER PICKERING                   HARMEET K. DHILLON (SBN 207873)
       HALE AND DORR LLP                       harmeet@dhillonlaw.com
 3
     2600 El Camino Real, Suite 400            STUART MCCOMMAS (pro hac vice)
 4   Palo Alto, California 94306               SMCCommas@dhillonlaw.com
     Telephone: (650) 858-6000                 DHILLON LAW GROUP INC.
 5   Facsimile: (650) 858-6100                 177 Post Street, Suite 700
                                               San Francisco, California 94108
 6   ARI HOLTZBLATT (pro hac vice)             Telephone: (415) 520-6593
      Ari.Holtzblatt@wilmerhale.com            Facsimile: (415) 520-6593
 7   MOLLY M. JENNINGS (pro hac vice)
      Molly.Jennings@wilmerhale.com
 8   WILMER CUTLER PICKERING                   Attorneys for Plaintiff
      HALE AND DORR LLP                        JOHN STOSSEL
 9
     1875 Pennsylvania Ave, NW
10   Washington, DC 20006
     Telephone: (202) 663-6000
11   Facsimile: (202) 663-6363

12   Attorneys for Defendant
     META PLATFORMS, INC.
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16
                        IN THE UNITED STATES DISTRICT COURT
17
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                      SAN JOSE DIVISION
19
     JOHN STOSSEL, an individual,               Case Number: 5:21-cv-07385-VKD
20
                               Plaintiff,       [PROPOSED] ORDER AMENDING THE
21
                                                CAPTION
           v.
22
     FACEBOOK, INC., a Delaware corporation;
23
     SCIENCE FEEDBACK, a French non-profit
24   organization; and CLIMATE FEEDBACK, a
     French non-profit organization,
25
                               Defendants.
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                                                                           [PROPOSED] ORDER
                                                                         Case No. 5:21-CV-07385
     Case 5:21-cv-07385-VKD Document 32-1 Filed 12/03/21 Page 2 of 2




 1                                     [PROPOSED] ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED that:
 3         The caption of the case shall be changed to John Stossel v. Meta Platforms, Inc.; Science
 4   Feedback; Climate Feedback.
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 6    Dated: ________________________
 7                                                          By: Hon. Virginia K. DeMarchi

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                                                                                  [PROPOSED] ORDER
                                                                          Case No. 5:21-CV-07385-VKD
